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EXHIBIT C
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA, INDIVIDUALLY, and : CIVIL ACTION NO.
TYLER SHEA, PPA KRISTEN SHEA, : 3:21-CV-00673-JCH
Plaintiffs,

Vv.

CHATERAM SIEUNARINE and
CHET TRANSPORT, LLC,

Defendants. APRIL 6, 2022

PLAINTIFFS’ FIRST REQUEST FOR ADMISSION OF FACT

Pursuant to Rule 36 of the Federal Rules of Civil Procedure, the
plaintiffs, Kristen and Tyler Shea, hereby respectfully request that the
defendants, Chateram Sieunarine and Chet Transportation, LLC (“Chet
Transport”) admit for the purpose of this action only, the truth of the following
statements within (30) days of this Request:

is On May 30, 2019 defendant Chet Transport was engaged in the
business of interstate freight shipping, hauling and trucking.

ADMIT /DENY

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ae Defendant Chet Transport is a motor carrier as defined under 49
C.F.R. §§ 390.5. et seq.
ADMIT /DENY
os Defendant Chet’s Freightliner commercial box truck that is the
subject of this lawsuit is a commercial motor vehicle as defined by 49 U.S.C §
31101(1), 49 C.F.R. § 390.5 and 49 C.F.R § 383.5 et seq.
ADMIT /DENY
4. Defendant Chet and its employees, including but not limited to
defendant Sieunarine, were subject to the requirements of 49 U.S.C. §§ 31136
et seq. as of May 30, 2019.
ADMIT / DENY
5. Defendant Chet and its employees, including but not limited to
defendant Sieunarine, were subject to the Federal Motor Carrier Safety
Regulations, 49 C.F.R. §§ 390.1 - 396.25, as of May 30, 2019.

ADMIT/DENY

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6. Defendant Chet and its employees, including but not limited to
defendant Sieunarine, were subject to Section 14-163(c) of the Connecticut
General Statutes, and Regs. Conn. State Agencies §§ 14-163c-1 and 14-163c-2
as of May 30, 2019.

ADMIT/DENY

7. When defendants Chet Transport and Sieunarine operated the
Freightliner commercial box truck that is the subject of this lawsuit in
interstate commerce on May 30, 2019, they confirmed that its equipment,
including, but not limited to, its axles, wheels, rims and tires, were in good
working order as required by Federal Motor Carrier Regulations 49 C.F.R.
392.7 and Connecticut Safety Regulations §§ 14-163c-1 and 14-163c-2.
ADMIT /DENY

8. As of May 30, 2019, the defendants were required to inspect and
maintain the Freightliner commercial box truck that is the subject of this
lawsuit in a safe operating condition, pursuant to the Federal Motor Carrier
Regulations 49 C.F.R. 392.7 et seq., including but not limited to 49 C.F.R.
396.3, and Connecticut Safety Regulations §§ 14-163c-1 and 14-163c-2.

ADMIT / DENY

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9. As of May 30, 2019 the defendants were in sole control of the
inspection, maintenance and operation of the Freightliner commercial box
truck that is the subject of this lawsuit.

ADMIT/DENY

10. Except for the document attached hereto as Exhibit A, the
defendants have no records of any maintenance performed on the Freightliner
commercial box truck that is the subject of this lawsuit for at least five years
prior to May 30, 2019.
ADMIT/DENY

11. The defendants have no records of any inspections performed on
the Freightliner commercial box truck that is the subject of this lawsuit for at
least five years prior to May 30, 2019.

ADMIT /DENY

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12. On May 30, 2019, at the time of the accident that is the subject
of this lawsuit, defendant Sieunarine was operating defendant Chet Transport’s
Freightliner commercial box truck while it was not in safe operating condition,
including but not limited to its axles, wheels, rims and/or tires, in violation of
Section 14-98a of the Connecticut General Statutes.

ADMIT/DENY

ROR

C. SHEA ct13781

oa denen & Shea, LLC
Orange Street

New Haven, Connecticut 06511

203/787-1183

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CERTIFICATION:

This is to certify that a copy of the foregoing was emailed or mailed postage
prepaid to the following on April 6, 2022:

Mathew W. Beckwith
Melick & Porter, LLP
900 Main Street South
Southbugy, CT 064

es & SHEA, LLC

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EXHIBIT A

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Gonzalo Truck Parts & Repair

179A Broadway
Jersey City, NJ
07306
Tel.#: (201) 451-4009 FAX: (201) 451-4007

CHET TRANSPORT LLC, 1997 FREIGHTLINER TLI06 INV # : 92650
CHATERAN SIEUNARINE Plate : AN1095 Date : 02/05/2019
130 MORRIS AVE. opo =: 0 Time :11:23AM
ENGLEWOOD, NJ 07631 V.ILN.: 833164 :
Unit 4:
BE: H#:347 724-1238 Regine!
Qty “Sires “Description es: i aii ux 1 :
1.00 LABOR OIL CHANGE AND GREASE ———«™~” 80.00 TX1 - 80.00
1.00 FILTER 10.00 10.00 TX1 10.00-
Part #: BF5B810 :

1.00 LUCAS OIL TREATMENT 30.00 ; 30.00 ° .TX1 30.00:
Part #: 10002

7.00 ROTELLA GL BULK ‘ 12.00 84.00 TX1 84.00

1.00 wheel seal 003 AND LASOR 100.00 100.00 TX1 100.00
Pan #: 709 .

4.00 STARTING FKD THRUST 1102 AERO 3.50 14,00 TXL 14.00
Part #: M3815

5.00 WHEEL BOLTS 8.00 40.00: TX1 © 40.00.

1.00 TIGHTEN BOX CLAMPS (2} 20.00 TX1 20.00

1.00 D-2 GOVERNOR 20.00 20.00 TX1 20.00.
Part #: 170.275481 ‘

1.00 " SHELIzone antifreeze 10.00 10.00 - /TX2 10.00
Part #: 75723

Wow 103694 O20G2018 THISAM Capyrignt 2018 Autogenag Inc. - LANKAR 10.0.2

Please Be Advised There Is A Storage Fee of $100.00 Per Day After 24hrs of Work

AS THE OWNER, OR AGENT OF THE OWNER, I
ACCEPT THE VEHICLE WITH THE UNDERSTANDING
THAT THE ABOVE WORK HAS BEEN COMPLETED IN A
PROPER MANNER AND AT AN ACCEPTABLE COST. I
AGREE THAT THE ONLY WARRANTY IN REGARD TO
THE ABOVE WORK IS PROVIDED BY THE
MANUFACTURER OF THE PARTS USED AND THAT
GONZALO TRUCK PARTS & REPAIR DOES NOT
PROVIDE ANY WARRANTY, EXPRESS OR IMPLIED
WHETHER FOR MERCHANTIBILITY, FITNESS FOR
USE OR ANY OTHER PURPOSE. I AGREE THAT
GONZALO TRUCK PARTS & REPAIR HAS NO
LIABILITY OR RESPONSIBILITY FOR ANY LOSS OR
DAMAGE TO THE VEHICLE OR ANY ITEMS ATTACHED

TO, OR LEFT IN THE VEHICLE. Sub Tot. 308.00 100.00 408,00
TXL 28.07
TxX2 0.00
SIGNATURE: Deductible 0.00
PRINT NAME: : Total 436.07
Page
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Case 3:21-cv-00673-JCH Document 42-4 Filed 05/13/22 Page 10 of 10

Gonzalo Truck Parts & Repair

479A Broadway

Jersey Clty, NJ
07306
Tel.#: (201) 451-4009 FAX: (201) 451-4007
Ren Ss ety 8) ids Veena Bees een 147 (0) 8 ee seed pair sireeiead NN" Un Fie

CHET TRANSPORT Luc. "1997 FREIGHTLINER FL106 INV # : 92650

CHATERAN SIEUNARINE Plate : AN1O09S Date : 02/05/2019

130 MORRIS AVE. opo 3: «+O Time :11:23AM —

ENGLEWOOD, NJ 07631 V.ILN.: 833164 ‘ PO #

Unit #: REG # :

BE: H#:347 724-1238 Engine: Tech. : MARGIE/
Qty Hrs. Description = Parts Ba, Tét. Parts (mebour Tx Total. oc
Completion.
PAID BY:...

02/05/2019 DebitCard 436.07

AS THE OWNER, OR AGENT OF THE OWNER, I ”
ACCEPT THE VEHICLE WITH THE UNDERSTANDING
THAT THE ABOVE WORK HAS BEEN COMPLETED IN A
PROPER MANNER AND AT AN ACCEPTABLE COST. I
AGREE THAT THE ONLY WARRANTY IN REGARD TO
THE ABOVE WORK IS PROVIDED BY THE
MANUFACTURER OF THE PARTS USED AND THAT
GONZALO TRUCK PARTS & REPAIR DOES NOT
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WHETHER FOR MERCHANTIBILITY, FITNESS FOR
USE OR ANY OTHER PURPOSE. I AGREE THAT
GONZALO TRUCK PARTS & REPAIR HAS NO
LIABILITY OR RESPONSIBILITY FOR ANY LOSS OR
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TO, OR LEFT IN THE VEHICLE. Sub Tot. 308.00 100.00 408.00

TX1 28.07

TX2 0.06

SIGNATURE: Deductible 0.00

PRINT NAME: Total 436.07
Page

DATE: 2 of 2

